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From:                        Executive Leadership Announcements <noreply@onewftapp.weatherford.com>
Sent:                        Thursday, January 14, 2021 5:12 PM
To:                          arthur.denham@weatherford.com
Subject:                     Important Notice: Changes to the Dispute Resolution Program Plan and Rules




                                          IMPORTANT NOTICE

                The purpose of this communication is to inform you of changes to our Dispute
              Resolution Plan and Rules (“DRP”). We understand that conflicts in the workplace
              may arise and, as a Company, Weatherford wants to ensure you have options for
            dealing with these conflicts. Our DRP was implemented in 2016 to offer you a flexible
             process with options for airing and settling almost every kind of workplace concern.
                We recently revised our DRP to ensure it continues to help effectively resolve
            disputes, and as these are the first changes that have been made since the DRP was
               implemented, we want to ensure you are aware of their impact to our program.




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                Changes to the Weatherford Dispute
                Resolution Program Plan and Rules

       Under the terms of the DRP, virtually all legal Disputes (as defined in the DRP)
       concerning your employment, the terms and conditions of your employment,
       and/or your separation from employment are subject to final and binding resolution
       exclusively by arbitration. In other words, both you and the Company waive the
       right to have a Dispute decided by a judge or jury. You do not, however, give up
       any legal remedies that would otherwise be available to you in a court of law. The
       changes to the DRP include the elimination of the Ombudsmen role and changes
       with respect to the mediation option and confidentiality.

       You may access a copy of the revised DRP here. You are strongly encouraged to
       review the DRP carefully because the changes and updates impact your legal
       rights. These changes and updates will become effective thirty (30) days after you
       receive this Notice (“Effective Date”).

       There are additional changes besides the ones described in this Notice, so it is
       very important that you read and understand the entire DRP and complete your
       acknowledgement via WCAP. You may find detailed instructions for completing
       your acknowledgment in WCAP here.

       As noted above, by continuing your employment with Weatherford after the
       Effective Date, you are agreeing to be bound by the amended DRP. Any attempt
       to reject any or all of the terms of the revised DRP other than by separation of
       employment will not preclude application or enforcement of the DRP to future
       Disputes. In addition, this Notice does not alter the at-will status of your
       employment with Weatherford.

       If you have questions about the Plan, Rules, or any of the changes or updates,
       please contact David Morris, AGC – Global Head of Litigation.




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